                              EXHIBIT A

                             Proposed Order




DOCS_DE:238536.1 00162/001
                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                              Chapter 11
    In re:
                                                              Case No. 20-11568 (KBO)
    RS FIT NW LLC,

                              Reorganized Debtor.1


        ORDER SUSTAINING THE REORGANIZED COMPANY’S FORTIETH
    (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN NO LIABILITY CLAIMS

         Upon the Reorganized Company’s Fortieth (Substantive) Omnibus Objection To Certain

No Liability Claim, dated March 1, 2022 (the “Objection”),2 of RS FIT NW LLC in the above-

captioned chapter 11 case (the “Reorganized Debtor”), and All Day Holdings LLC (together with

the Reorganized Debtor, the “Reorganized Company”), pursuant to section 502 of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 3007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 3007-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), for entry of an order disallowing and expunging certain Proofs of Claim, all as more fully

set forth in the Objection; and upon consideration of the Paykin Declaration; and this Court having

jurisdiction to consider the Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware dated February 29, 2012; and consideration of the Objection and the

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     The Reorganized Debtor in this chapter 11 case, along with the last four digits of the Reorganized Debtor’s federal
     tax identification number, as applicable, is RS FIT NW LLC (9372). By order dated March 16, 2021 [RS FIT
     Docket No. 7], the remaining debtor affiliates’ (the “Reorganized Debtors”) chapter 11 cases were closed. The
     Reorganized Debtors’ corporate headquarters and service address is 24 Hour Fitness USA, Inc., 1265 Laurel Tree
     Lane, Carlsbad, CA 92011.
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     Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms in the
     Objection.




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requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Objection having been provided to the parties listed therein, and it appearing that no other or

further notice need be provided; and this Court having reviewed the Objection; and this Court

having determined that the legal and factual bases set forth in the Objection establish just cause

for the relief granted herein; and it appearing that the relief requested in the Objection is in the best

interests of the Reorganized Company, the Reorganized Debtors, the Debtors’ estates, creditors,

and all parties in interest; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor,

                 IT IS HEREBY ORDERED THAT:

        1.       The Objection is granted as provided herein.

        2.       Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local

Rule 3007-1, each No Liability Claim listed on Schedule 1 annexed hereto is disallowed and

expunged in its entirety.

        3.       This Order has no res judicata, estoppel, or other effect on the validity, allowance,

or disallowance of any claim referenced and/or identified in the Objection that is not listed on

Schedule 1 annexed hereto, and all rights to object to or defend against such claims on any basis

are expressly reserved.

        4.       Should one or more of the grounds of objection stated in the Objection be

dismissed, the Reorganized Company’s rights to object on any other grounds that the Reorganized

Company discovers during the pendency of this chapter 11 case is preserved.




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         5.      Each of the No Liability Claims and the objections by the Reorganized Company

to such claims, as set forth on Schedule 1 hereto, constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014 and Local Rule 3007-1. This Order shall be deemed a

separate Order with respect to each such No Liability Claim. Any stay of this Order pending

appeal by any claimants whose claims are subject to this Order shall only apply to the contested

matter which involves such claimant and shall not act to stay the applicability and/or finality of

this Order with respect to the other contested matters listed in the Objection or this Order.

         6.      The Reorganized Company and the Debtors’ claims and noticing agent, Prime

Clerk LLC, and the Clerk of this Court are authorized to take all steps necessary or appropriate to

carry out this Order.

         7.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.



Dated:                           , 2022
         Wilmington, Delaware

                                             THE HONORABLE KAREN B. OWENS
                                             UNITED STATES BANKRUPTCY JUDGE




                                                  3
DOCS_DE:238536.1 00162/001
                               SCHEDULE 1

                             No Liability Claims




DOCS_DE:238536.1 00162/001
Schedule 1 - Fortieth Omnibus Objection
RS FIT NW, LLC (Remaining Case) (f/k/a 24 Hour Fitness Worldwide, Inc., et al.)
Substantive No Liability Claims
                                                                                                                        Date Claim    Claim                                                           Asserted Claim Amount
No.                   Name of Claimant                           Case Number               Debtor's Name                                                                                                                                                                                                                    Reason for Disallowance
                                                                                                                          Filed      Number
                                                                                                                                              Secured       Status Admin       Status 503(b)(9)              Status Priority              Status Unsecured              Status Total
 1    Aker, Eric                                            20–11561 (KBO)        24 Hour Fitness USA, Inc.              10/2/2020   22440              -    -             -     -                      -      -                 150.00    -                      -       -              150.00   There is no basis for the claim in the Debtor's books and records.
 2    Alony, Arieh                                          20–11561 (KBO)        24 Hour Fitness USA, Inc.              10/1/2020   21361              -    -             -     -                      -      -                 955.00    -                      -       -              955.00   There is no basis for the claim in the Debtor's books and records.
 3    Anderson, Colene                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        8/27/2020   3646               -    -             -     -                      -      -                 324.00    -                      -       -              324.00   There is no basis for the claim in the Debtor's books and records.
 4    Baltz, Robert                                         20–11561 (KBO)        24 Hour Fitness USA, Inc.              10/1/2020   21400              -    -             -     -                      -      -                 946.00    -                      -       -              946.00   There is no basis for the claim in the Debtor's books and records.
 5    Bashant, June                                         20–11563 (KBO)        24 San Francisco LLC                   9/16/2020   14817              -    -             -     -                      -      -                 349.99    -                      -       -              349.99   There is no basis for the claim in the Debtor's books and records.
 6    Battaglino, Lisa                                      20–11561 (KBO)        24 Hour Fitness USA, Inc.              8/7/2020    3026               -    -             -     -                      -      -                 924.00    -                      -       -              924.00   There is no basis for the claim in the Debtor's books and records.
 7    Bellasalma, Chrisinta                                 20–11561 (KBO)        24 Hour Fitness USA, Inc.              9/4/2020    8863               -    -             -     -                      -      -                 937.84    -                      -       -              937.84   There is no basis for the claim in the Debtor's books and records.
 8    Bhattacharya, Joy                                     20–11560 (KBO)        24 Hour Fitness United States, Inc.    10/1/2020   21536              -    -             -     -                      -      -                 100.00    -                      -       -              100.00   There is no basis for the claim in the Debtor's books and records.
 9    Blackmer, Keith                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/16/2020   13269              -    -             -     -                      -      -                 375.00    -                      -       -              375.00   There is no basis for the claim in the Debtor's books and records.
 10   Blanca, Mercedes                                      20–11561 (KBO)        24 Hour Fitness USA, Inc.              6/29/2020    25                -    -             -     -                      -      -                 399.37    -                      -       -              399.37   There is no basis for the claim in the Debtor's books and records.
 11   Botros, Naima                                         20–11559 (KBO)        24 Hour Holdings II LLC                8/27/2020   3500               -    -             -     -                      -      -                 400.00    -                      -       -              400.00   There is no basis for the claim in the Debtor's books and records.
 12   Boyd, Bruce                                           20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/28/2020   18217              -    -             -     -                      -      -                 420.00    -                      -       -              420.00   There is no basis for the claim in the Debtor's books and records.
 13   Bracco, Richard                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/3/2020    8278               -    -             -     -                      -      -                 350.00    -                      -       -              350.00   There is no basis for the claim in the Debtor's books and records.
 14   Bral, Alan                                            20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/2/2020   23322              -    -             -     -                      -      -                 401.00    -                      -       -              401.00   There is no basis for the claim in the Debtor's books and records.
 15   Brock, Matthew                                        20–11561 (KBO)        24 Hour Fitness USA, Inc.              9/25/2020   17994              -    -             -     -                      -      -                 405.00    -                    44.99     -              449.99   There is no basis for the claim in the Debtor's books and records.
 16   Brown, Annastasia                                     20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/23/2020   17444              -    -             -     -                      -      -                 187.96    -                      -       -              187.96   There is no basis for the claim in the Debtor's books and records.
 17   Bulpin, Richard W                                     20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/1/2020   21278              -    -             -     -                      -      -                 274.96    -                    99.98     -              374.94   There is no basis for the claim in the Debtor's books and records.
 18   Burns, Debra                                          20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/1/2020   22173              -    -             -     -                      -      -                 656.00    U                      -       -              656.00   There is no basis for the claim in the Debtor's books and records.
 19   Caille, Janet                                         20–11561 (KBO)        24 Hour Fitness USA, Inc.              6/30/2020    165               -    -             -     -                      -      -                 382.50    -                      -       -              382.50   There is no basis for the claim in the Debtor's books and records.
 20   Capel, Nancy M.                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/11/2020   12909              -    -             -     -                      -      -                 936.00    -                      -       -              936.00   There is no basis for the claim in the Debtor's books and records.
 21   Carnie, Darin                                         20–11561 (KBO)        24 Hour Fitness USA, Inc.              9/14/2020   13276              -    -             -     -                      -      -                 261.77    -                      -       -              261.77   There is no basis for the claim in the Debtor's books and records.
 22   Carrillo, Susana                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/23/2020   17707              -    -             -     -                      -      -                 300.00    -                      -       -              300.00   There is no basis for the claim in the Debtor's books and records.
 23   Carrington, Gloria                                    20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/1/2020   22023              -    -             -     -                      -      -                 938.00    -                      -       -              938.00   There is no basis for the claim in the Debtor's books and records.
 24   Carter, William                                       20–11561 (KBO)        24 Hour Fitness USA, Inc.              8/28/2020   5184               -    -             -     -                      -      -                 954.97    -                      -       -              954.97   There is no basis for the claim in the Debtor's books and records.
 25   Cirera, Alexandre                                     20–11560 (KBO)        24 Hour Fitness United States, Inc.    8/5/2020    2853               -    -             -     -                      -      -                 249.96    -                      -       -              249.96   There is no basis for the claim in the Debtor's books and records.
 26   Clark, Collin                                         20–11560 (KBO)        24 Hour Fitness United States, Inc.   10/20/2020   25726              -    -             -     -                      -      -                  83.98    -                      -       -               83.98   There is no basis for the claim in the Debtor's books and records.
 27   Clinkscales, Paul                                     20–11561 (KBO)        24 Hour Fitness USA, Inc.              10/2/2020   23007              -    -             -     -                      -      -                 923.91    -                      -       -              923.91   There is no basis for the claim in the Debtor's books and records.
 28   Cooper, Ira                                           20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/16/2020   13891              -    -             -     -                      -      -                 249.99    -                      -       -              249.99   There is no basis for the claim in the Debtor's books and records.
 29   Cooper, Robert                                        20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/23/2020   16747              -    -             -     -                      -      -                 299.99    -                      -       -              299.99   There is no basis for the claim in the Debtor's books and records.
 30   Costas, Becky                                         20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/2/2020   23501              -    U             -     -                      -      -                 900.00    -                      -       -              900.00   There is no basis for the claim in the Debtor's books and records.
 31   Coultas, Marjorie D.                                  20–11560 (KBO)        24 Hour Fitness United States, Inc.    9/16/2020   14600              -    -             -     -                      -      -                 936.00    -                      -       -              936.00   There is no basis for the claim in the Debtor's books and records.
 32   Cui, Jingyuan                                         20–11561 (KBO)        24 Hour Fitness USA, Inc.              8/28/2020   4158               -    -             -     -                      -      -                 415.67    -                      -       -              415.67   There is no basis for the claim in the Debtor's books and records.
 33   Dreifuss, Raymond Henry                               20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/3/2020    7739               -    -             -     -                      -      -                 250.00    -                      -       -              250.00   There is no basis for the claim in the Debtor's books and records.
 34   DuBose-Roberts, Gwendolyn                             20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/2/2020   23937              -    -             -     -                      -      -                 360.00    -                      -       -              360.00   There is no basis for the claim in the Debtor's books and records.
 35   E. M.                                                 20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/1/2020   22239              -    -             -     -                      -      -                 324.74    -                      -       -              324.74   There is no basis for the claim in the Debtor's books and records.
 36   EBERWEIN, DAVID                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/7/2020    10154              -    -             -     -                      -      -                 413.00    -                      -       -              413.00   There is no basis for the claim in the Debtor's books and records.
 37   Eddings, D Rachealle                                  20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/30/2020   20478              -    -             -     -                      -      -                 928.00    -                      -       -              928.00   There is no basis for the claim in the Debtor's books and records.
 38   Edler, Jana                                           20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/3/2020    7994               -    -             -     -                      -      -                 347.89    -                      -       -              347.89   There is no basis for the claim in the Debtor's books and records.
 39   Effenbeck, Sara                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/5/2020    8854               -    -             -     -                      -      -                 400.00    -                      -       -              400.00   There is no basis for the claim in the Debtor's books and records.
 40   Entezari, Zahra                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/25/2020   18024              -    -             -     -                      -      -                 200.00    -                      -       -              200.00   There is no basis for the claim in the Debtor's books and records.
 41   Ercolini, Beth M.                                     20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/1/2020   20638              -    -             -     -                      -      -                 400.00    -                      -       -              400.00   There is no basis for the claim in the Debtor's books and records.
 42   Faccone, Erica                                        20–11560 (KBO)        24 Hour Fitness United States, Inc.   10/20/2020   25790              -    -             -     -                      -      -                  83.98    -                      -       -               83.98   There is no basis for the claim in the Debtor's books and records.
 43   Ferraez, Francisco                                    20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/4/2020    8676               -    -             -     -                      -      -                 310.00    -                      -       -              310.00   There is no basis for the claim in the Debtor's books and records.
 44   Ferriolo, Joseph                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/16/2020   14785              -    -             -     -                      -      -                 900.00    -                      -       -              900.00   There is no basis for the claim in the Debtor's books and records.
 45   Fiedler, James N                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/13/2020   12765              -    -             -     -                      -      -                 198.00    -                      -       -              198.00   There is no basis for the claim in the Debtor's books and records.
 46   Finke, Lauralee                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/8/2020    10347              -    -             -     -                      -      -                 228.00    -                      -       -              228.00   There is no basis for the claim in the Debtor's books and records.
 47   Fisher, Belinda L.                                    20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/16/2020   14575              -    -             -     -                      -      -                  82.00    -                 4,918.00     -            5,000.00   There is no basis for the claim in the Debtor's books and records.
 48   Fisher, LaMar S                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/16/2020   14589              -    -             -     -                      -      -                 401.00    -                 4,599.00     -            5,000.00   There is no basis for the claim in the Debtor's books and records.
 49   Fleming, Brittany                                     20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/2/2020   22475              -    -             -     -                      -      -                 941.99    -                      -       -              941.99   There is no basis for the claim in the Debtor's books and records.
 50   Fleming, Thomas V.                                    20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/28/2020   19511              -    -             -     -                      -      -                 252.00    -                   252.00     -              504.00   There is no basis for the claim in the Debtor's books and records.
 51   Foster, Tyler C                                       20–11561 (KBO)        24 Hour Fitness USA, Inc.              10/2/2020   22969              -    -             -     -                      -      -                 161.45    -                      -       -              161.45   There is no basis for the claim in the Debtor's books and records.
 52   Franko, Anna                                          20–11561 (KBO)        24 Hour Fitness USA, Inc.              8/31/2020   5082               -    -             -     -                      -      -                 296.00    -                      -       -              296.00   There is no basis for the claim in the Debtor's books and records.
 53   Friedberg, Jerry                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        7/4/2020     563               -    -             -     -                      -      -                 180.00    -                      -       -              180.00   There is no basis for the claim in the Debtor's books and records.
 54   Furutani, Terrance                                    20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.       10/26/2020   25962              -    -             -     -                      -      U                 369.52    -                      -       -              369.52   There is no basis for the claim in the Debtor's books and records.
 55   Gillaspie, Shawn                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/23/2020   17521              -    -             -     -                      -      -                 129.97    -                      -       -              129.97   There is no basis for the claim in the Debtor's books and records.
 56   Gin, Peggy                                            20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/9/2020    11065              -    -             -     -                      -      -                 946.00    -                      -       -              946.00   There is no basis for the claim in the Debtor's books and records.
 57   Gleckman, Melody                                      20–11561 (KBO)        24 Hour Fitness USA, Inc.              9/9/2020    12255              -    -             -     -                      -      -                 200.00    -                      -       -              200.00   There is no basis for the claim in the Debtor's books and records.
 58   Gomez, Jorge                                          20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/9/2020    11560              -    -             -     -                      -      -                 350.00    -                      -       -              350.00   There is no basis for the claim in the Debtor's books and records.
 59   Grefrath, Lisa H                                      20–11565 (KBO)        24 Denver LLC                          3/10/2021   27466              -    -             -     -                      -      -                 430.00    -                      -       -              430.00   There is no basis for the claim in the Debtor's books and records.
 60   Grimm, Brittany                                       20–11561 (KBO)        24 Hour Fitness USA, Inc.              7/22/2020   2104               -    -             -     -                      -      -                 412.50    -                      -       -              412.50   There is no basis for the claim in the Debtor's books and records.
 61   GUZMAN, SERJIO C.                                     20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/4/2020    7822               -    -             -     -                      -      -                 352.00    -                      -       -              352.00   There is no basis for the claim in the Debtor's books and records.
 62   Hallman, Daniel                                       20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/22/2020   17344              -    -             -     -                      -      -                 215.00    -                      -       -              215.00   There is no basis for the claim in the Debtor's books and records.
 63   Haniff, Ancel                                         20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/18/2020   15856              -    -             -     -                      -      -                 369.70    -                      -       -              369.70   There is no basis for the claim in the Debtor's books and records.
 64   Haro, Sylvia                                          20–11561 (KBO)        24 Hour Fitness USA, Inc.             11/19/2020   26731              -    -             -     -                      -      -                 895.65    -                      -       -              895.65   There is no basis for the claim in the Debtor's books and records.
 65   Hernandez, Erika A                                    20–11560 (KBO)        24 Hour Fitness United States, Inc.    9/29/2020   21541              -    -             -     -                      -      -                 125.00    -                      -       -              125.00   There is no basis for the claim in the Debtor's books and records.
 66   Hoag, Dana L                                          20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        6/29/2020    735               -    -             -     -                      -      -                 913.00    -                      -       -              913.00   There is no basis for the claim in the Debtor's books and records.
 67   Holder, Travius                                       20–11561 (KBO)        24 Hour Fitness USA, Inc.              9/15/2020   14334              -    -             -     -                      -      -                 636.73    U                      -       -              636.73   There is no basis for the claim in the Debtor's books and records.
 68   Hsu-Lee, Ami                                          20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/1/2020    6795               -    -             -     -                      -      -                  98.54    -                      -       -               98.54   There is no basis for the claim in the Debtor's books and records.
 69   Hunt, Barbara Ann                                     20–11561 (KBO)        24 Hour Fitness USA, Inc.              7/17/2020   1958               -    -             -     -                      -      -                 282.00    -                      -       -              282.00   There is no basis for the claim in the Debtor's books and records.
 70   Hurtado, Marco                                        20–11560 (KBO)        24 Hour Fitness United States, Inc.    7/17/2020   1523               -    -             -     -                      -      -                 350.00    -                      -       -              350.00   There is no basis for the claim in the Debtor's books and records.
 71   Hwang, Sun                                            20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/2/2020   22684              -    -             -     -                      -      -                 415.68    -                      -       -              415.68   There is no basis for the claim in the Debtor's books and records.
 72   Jackson, Michael J.                                   20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        7/7/2020    1072               -    -             -     -                      -      -                 941.40    -                      -       -              941.40   There is no basis for the claim in the Debtor's books and records.
 73   Jacobs, Jeffrey E.                                    20–11563 (KBO)        24 San Francisco LLC                   9/28/2020   17173              -    -             -     -                      -      -                 301.83    -                      -       -              301.83   There is no basis for the claim in the Debtor's books and records.
 74   Jargalsaikhan, Suvdaa                                 20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/1/2020   20670              -    -             -     -                      -      -                 912.00    -                 1,000.50     -            1,912.50   There is no basis for the claim in the Debtor's books and records.
 75   Ji, Zhiwen                                            20–11561 (KBO)        24 Hour Fitness USA, Inc.              9/6/2020    9377               -    -             -     -                      -      -                 400.00    -                      -       -              400.00   There is no basis for the claim in the Debtor's books and records.
 76   Johnson, Jeffrey Wade                                 20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/30/2020   22154              -    -             -     -                      -      -                 190.25    -                      -       -              190.25   There is no basis for the claim in the Debtor's books and records.
 77   Jones-Harry, Marsha                                   20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/9/2020    10891              -    -             -     -                      -      -                 282.51    -                      -       -              282.51   There is no basis for the claim in the Debtor's books and records.
 78   Juarez, Valerie M                                     20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        10/2/2020   22680              -    -             -     -                      -      -                 910.00    -                   910.00     -            1,820.00   There is no basis for the claim in the Debtor's books and records.
 79   Karen Ratcliff (member #5M21335)                      20–11562 (KBO)        24 Hour Fitness Holdings LLC           4/15/2021   27543              -    -             -     -                      -      -                 938.50    -                      -       -              938.50   There is no basis for the claim in the Debtor's books and records.
 80   Kennedy, Michael                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        8/13/2020   2731               -    -             -     -                      -      -                 912.00    -                      -       -              912.00   There is no basis for the claim in the Debtor's books and records.
 81   Knowles, Anne Mary                                    20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/28/2020   19700              -    -             -     -                      -      -                 249.99    -                      -       -              249.99   There is no basis for the claim in the Debtor's books and records.
 82   Knue, Michael N.                                      20–11558 (KBO)        24 Hour Fitness Worldwide, Inc.        9/13/2020   12742              -    -             -     -                      -      -                 375.00    -                      -       -              375.00   There is no basis for the claim in the Debtor's books and records.
 83   KRUMMEL, WILLIAM ALAN                                 20–11560 (KBO)        24 Hour Fitness United States, Inc.    9/25/2020   16936              -    -             -     -                      -      -                 399.98    -                      -       -              399.98   There is no basis for the claim in the Debtor's books and records.
 84   Krupski, Ann                                          20–11561 (KBO)        24 Hour Fitness USA, Inc.              7/2/2020     485               -    -             -     -                      -      -               1,848.00    -                      -       -            1,848.00   There is no basis for the claim in the Debtor's books and records.




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Schedule 1 - Fortieth Omnibus Objection
RS FIT NW, LLC (Remaining Case) (f/k/a 24 Hour Fitness Worldwide, Inc., et al.)
Substantive No Liability Claims
                                                                                                                            Date Claim    Claim                                                              Asserted Claim Amount
No.                   Name of Claimant                           Case Number                   Debtor's Name                                                                                                                                                                                                                      Reason for Disallowance
                                                                                                                              Filed      Number
                                                                                                                                                  Secured       Status Admin       Status 503(b)(9)                 Status Priority               Status Unsecured           Status Total
 85   Kubick, Theodore R.                                   20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/17/2020   15471              -     -            -     -                         -      -                 199.99     -                   -       -              199.99    There is no basis for the claim in the Debtor's books and records.
 86   Laman, William J.                                     20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/3/2020    7624               -     -            -     -                         -      -                  99.00     -                   -       -               99.00    There is no basis for the claim in the Debtor's books and records.
 87   Lee, Young H                                          20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/1/2020    6532               -     -            -     -                         -      -                 225.00     -                   -       -              225.00    There is no basis for the claim in the Debtor's books and records.
 88   Leigh, Denise                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/25/2020   18696              -     -            -     -                         -      -                 945.25     -                   -       -              945.25    There is no basis for the claim in the Debtor's books and records.
 89   Linson, Felicia                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/1/2020   21778              -     -            -     -                         -      -                 901.14     -                   -       -              901.14    There is no basis for the claim in the Debtor's books and records.
 90   Lothian, Patricia A.                                  20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/2/2020   22801              -     -            -     -                         -      -                 219.00     -                   -       -              219.00    There is no basis for the claim in the Debtor's books and records.
 91   Majekodunmi, Wale                                     20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/13/2020   13364              -     -            -     -                         -      -                 912.00     -                   -       -              912.00    There is no basis for the claim in the Debtor's books and records.
 92   MAJZLIN, JEROME                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/30/2020   20444              -     -            -     -                         -      -                 159.43     -                   -       -              159.43    There is no basis for the claim in the Debtor's books and records.
 93   Majzlin, Jill                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/30/2020   20437              -     -            -     -                         -      -                 150.41     -                   -       -              150.41    There is no basis for the claim in the Debtor's books and records.
 94   MCallaghan, Timothy                                   20–11561 (KBO)            24 Hour Fitness USA, Inc.              7/8/2020     996               -     -            -     -                         -      -                 225.00     -                   -       -              225.00    There is no basis for the claim in the Debtor's books and records.
 95   McCrory, Alec                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/17/2020   15041              -     -            -     -                         -      -                 324.74     -                   -       -              324.74    There is no basis for the claim in the Debtor's books and records.
 96   McMurray, James                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.              8/27/2020   4116               -     -            -     -                         -      -                 187.47     -                   -       -              187.47    There is no basis for the claim in the Debtor's books and records.
 97   Miles, Jessica                                        20–11561 (KBO)            24 Hour Fitness USA, Inc.              7/1/2020     286               -     -            -     -                         -      -                 390.00     -                   -       -              390.00    There is no basis for the claim in the Debtor's books and records.
 98   Miles, Sharon R.                                      20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        8/17/2020   2598               -     -            -     -                         -      -                 912.00     -                   -       -              912.00    There is no basis for the claim in the Debtor's books and records.
 99   Miller, Denise                                        20–11561 (KBO)            24 Hour Fitness USA, Inc.              10/2/2020   23270              -     -            -     -                         -      -                 415.00     -                   -       -              415.00    There is no basis for the claim in the Debtor's books and records.
100   Miller, Jennifer Kpana                                20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/3/2020    7261               -     -            -     -                         -      -                 318.93     -                   -       -              318.93    There is no basis for the claim in the Debtor's books and records.
101   Minter, Donovan                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/14/2020   13053              -     -            -     -                         -      -                 160.00     -                   -       -              160.00    There is no basis for the claim in the Debtor's books and records.
102   Neiman, Melissa                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        7/7/2020     823               -     -            -     -                         -      -                  99.98     -                   -       -               99.98    There is no basis for the claim in the Debtor's books and records.
103   Newbury, Chantelle-Marie                              20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/23/2020   17473              -     -            -     -                         -      -                 249.96     -                   -       -              249.96    There is no basis for the claim in the Debtor's books and records.
104   Newman, Carol R                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.             11/17/2020   26523              -     -            -     -                         -      -                 399.98     -                   -       -              399.98    There is no basis for the claim in the Debtor's books and records.
105   O'Donnell, Christopher J.                             20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/18/2020   16243              -     -            -     -                         -      -                 200.00     -                   -       -              200.00    There is no basis for the claim in the Debtor's books and records.
106   Ofsink, Karen                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/30/2020   19926              -     -            -     -                         -      -                 360.00     -                   -       -              360.00    There is no basis for the claim in the Debtor's books and records.
107   Ogata, AnnaLyn                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/8/2020    10894              -     -            -     -                         -      -                 400.00     -                   -       -              400.00    There is no basis for the claim in the Debtor's books and records.
108   Oppong-Addae, Sharonda                                20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/30/2020   20406              -     -            -     -                         -      -                 361.16     -                   -       -              361.16    There is no basis for the claim in the Debtor's books and records.
109   Osborne, June                                         20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/22/2020   16584              -     -            -     -                         -      -                 249.00     U                   -       -              249.00    There is no basis for the claim in the Debtor's books and records.
110   Padawer, Craig                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/3/2020    6529               -     -            -     -                         -      -                 400.00     -                   -       -              400.00    There is no basis for the claim in the Debtor's books and records.
111   Padock, Cynthia                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/30/2020   20160              -     -            -     -                         -      -                 128.97     -                   -       -              128.97    There is no basis for the claim in the Debtor's books and records.
112   Parikh, Maniari                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.              7/14/2020   1675               -     -            -     -                         -      -                 249.99     -                   -       -              249.99    There is no basis for the claim in the Debtor's books and records.
113   Parks, Maria Teresa                                   20–11561 (KBO)            24 Hour Fitness USA, Inc.              10/8/2020   24861              -     -            -     -                         -      -                 300.00     -                   -       -              300.00    There is no basis for the claim in the Debtor's books and records.
114   Patnana, Sri                                          20–11561 (KBO)            24 Hour Fitness USA, Inc.             10/15/2020   25584              -     -            -     -                         -      -                 249.96     -                   -       -              249.96    There is no basis for the claim in the Debtor's books and records.
115   Perez, James Rodriguez                                20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/25/2020   19206              -     -            -     -                         -      -                 162.00     -                  2.00     -              164.00    There is no basis for the claim in the Debtor's books and records.
116   PHILLIPS, JOHN MILTON                                 20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        7/20/2020   2028               -     -            -     -                         -      -                 200.00     -                   -       -              200.00    There is no basis for the claim in the Debtor's books and records.
117   Poore, Christine                                      20–11561 (KBO)            24 Hour Fitness USA, Inc.              7/17/2020   1838               -     -            -     -                         -      -                 294.00     -                   -       -              294.00    There is no basis for the claim in the Debtor's books and records.
118   Quillinan, James V                                    20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/9/2020    12167              -     -            -     -                         -      -                  75.00     -                   -       -               75.00    There is no basis for the claim in the Debtor's books and records.
119   Reese, James R.                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/9/2020    10657              -     -            -     -                         -      -                 199.00     -                   -       -              199.00    There is no basis for the claim in the Debtor's books and records.
120   Reseck Jr., John                                      20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/1/2020    5207               -     -            -     -                         -      -                 312.00     -                   -       -              312.00    There is no basis for the claim in the Debtor's books and records.
121   Rexin, Susan                                          20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/4/2020    8487               -     -            -     -                         -      -                 115.50     -                   -       -              115.50    There is no basis for the claim in the Debtor's books and records.
122   RICHARDSON, ARTHUR A                                  20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/1/2020    5115               -     -            -     -                         -      -                 350.00     -                   -       -              350.00    There is no basis for the claim in the Debtor's books and records.
123   Roberts, Renee L                                      20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/2/2020    6556               -     -            -     -                         -      -                 249.96     -                   -       -              249.96    There is no basis for the claim in the Debtor's books and records.
124   Romero, Eliseo                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/1/2020    6464               -     -            -     -                         -      -                 336.00     -                   -       -              336.00    There is no basis for the claim in the Debtor's books and records.
125   Romero, Jenica                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/1/2020   20578              -     -            -     -                         -      -                 300.00     -                   -       -              300.00    There is no basis for the claim in the Debtor's books and records.
126   Sarvey, Robin Ann                                     20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        8/3/2020    2484               -     -            -     -                         -      -                 916.76     -                   -       -              916.76    There is no basis for the claim in the Debtor's books and records.
127   Scott, Holly                                          20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        7/24/2020   2398               -     -            -     -                         -      -                 936.00     -                   -       -              936.00    There is no basis for the claim in the Debtor's books and records.
128   Scott, James E.                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/30/2020   20516              -     -            -     -                         -      -                  99.00     -                   -       -               99.00    There is no basis for the claim in the Debtor's books and records.
129   Settle, Cheryl L.                                     20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/23/2020   17866              -     -            -     -                         -      -                 200.00     -                   -       -              200.00    There is no basis for the claim in the Debtor's books and records.
130   Simmerman, Sarah L                                    20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/1/2020   22034              -     -            -     -                         -      -                 249.99     -                   -       -              249.99    There is no basis for the claim in the Debtor's books and records.
131   Smith, Betty Jo                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        8/10/2020   2933               -     -            -     -                         -      -                 405.00     -                   -       -              405.00    There is no basis for the claim in the Debtor's books and records.
132   Smith, David Vincent                                  20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/10/2020   11237              -     -            -     -                         -      -                 400.00     -                   -       -              400.00    There is no basis for the claim in the Debtor's books and records.
133   Soule, Amanda                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/2/2020   22763              -     -            -     -                         -      -                 329.43     -                   -       -              329.43    There is no basis for the claim in the Debtor's books and records.
134   Spoone, Samuel Mark                                   20–11565 (KBO)            24 Denver LLC                          10/7/2020   24819              -     -            -     -                         -      -                 408.00     -                   -       -              408.00    There is no basis for the claim in the Debtor's books and records.
135   Strickland, Stanley R                                 20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/11/2020   11711              -     -            -     -                         -      -                 940.00     -                   -       -              940.00    There is no basis for the claim in the Debtor's books and records.
136   Suarez, Jessica                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/3/2020   20986              -     -            -     -                         -      -                 938.98     -                   -       -              938.98    There is no basis for the claim in the Debtor's books and records.
137   Sullivan, Sean & Nanette                              20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/2/2020    6694               -     -            -     -                         -      -                 800.00     U                   -       -              800.00    There is no basis for the claim in the Debtor's books and records.
138   Sunshine, Richard C                                   20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/25/2020   19139              -     -            -     -                         -      -                 891.00     -                   -       -              891.00    There is no basis for the claim in the Debtor's books and records.
139   Sztorch, Boris                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        7/14/2020   1639               -     -            -     -                         -      -                 314.13     -                   -       -              314.13    There is no basis for the claim in the Debtor's books and records.
140   Tajlil, Attila                                        20–11561 (KBO)            24 Hour Fitness USA, Inc.              10/1/2020   20644              -     -            -     -                         -      -                 375.00     -                   -       -              375.00    There is no basis for the claim in the Debtor's books and records.
141   Taylor, Michael                                       20–11561 (KBO)            24 Hour Fitness USA, Inc.              9/30/2020   20354              -     -            -     -                         -      -                 135.00     -                   -       -              135.00    There is no basis for the claim in the Debtor's books and records.
142   Vallentine, Connie                                    20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        7/16/2020   1755               -     -            -     -                         -      -                 130.00     -                   -       -              130.00    There is no basis for the claim in the Debtor's books and records.
143   Vidaurri, Sapphira                                    20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        10/6/2020   25124              -     -            -     -                         -      -                 600.00     U                   -       -              600.00    There is no basis for the claim in the Debtor's books and records.
144   Webster, Philip                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/21/2020   25817              -     -            -     -                         -      -                 101.59     -                   -       -              101.59    There is no basis for the claim in the Debtor's books and records.
145   Welsh, Terence                                        20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/9/2020    12172              -     -            -     -                         -      -                 249.99     -                   -       -              249.99    There is no basis for the claim in the Debtor's books and records.
146   White, Auntwanette                                    20–11561 (KBO)            24 Hour Fitness USA, Inc.              7/30/2020   2086               -     -            -     -                         -      -                 406.00     -                   -       -              406.00    There is no basis for the claim in the Debtor's books and records.
147   Wood, Kelly J                                         20–11560 (KBO)            24 Hour Fitness United States, Inc.   10/13/2020   25504              -     -            -     -                         -      -                 907.77     -                   -       -              907.77    There is no basis for the claim in the Debtor's books and records.
148   Wright, Melanie                                       20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        9/2/2020    7680               -     -            -     -                         -      -                 200.00     -                   -       -              200.00    There is no basis for the claim in the Debtor's books and records.
149   Wylde, Andrew                                         20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.       10/20/2020   25786              -     -            -     -                         -      -                 911.64     -                   -       -              911.64    There is no basis for the claim in the Debtor's books and records.
150   Zimmerman , Deborah                                   20–11558 (KBO)            24 Hour Fitness Worldwide, Inc.        8/28/2020   3944               -     -            -     -                         -      -                 390.00     -                   -       -              390.00    There is no basis for the claim in the Debtor's books and records.


TOTAL NUMBER OF CLAIMS:                                                         150
TOTAL CLAIM AMOUNT:                                                       77,248.23                                                               $         -          $       -           $                   -           $          65,421.76          $       11,826.47           $      77,248.23




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